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 WACHTELL, LIPTON, ROSEN & KATZ
 51 West 52nd Street
 New York, New York 10019
 Telephone: (212) 403-1000
 Facsimile: (212) 403-2000
 Scott K. Charles
 Amy R. Wolf

 Former 327(e) Counsel for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- x
 In re:                                                          :
                                                                 :       Chapter 11
 SEARS HOLDINGS CORPORATION, et al.:
                                                                 :       Case No. 18-23538 (RDD)
                                                                 :
                   Debtors.*                                     :       (Jointly Administered)
 --------------------------------------------------------------- x

        WACHTELL, LIPTON, ROSEN & KATZ’S FIRST INTERIM AND FINAL FEE
        APPLICATION FOR COMPENSATION EARNED FROM OCTOBER 15, 2018
                          THROUGH MARCH 18, 2019

 Name of Applicant:                             Wachtell, Lipton, Rosen & Katz,
                                                Former Attorneys for Debtor and Debtor in Possession


 *
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
     Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774);
     SHC Licensed Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205);
     A&E Lawn & Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel
     Solutions, Inc. (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears
     Development Co. (6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises,
     Inc. (6742); Sears Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears
     Procurement Services, Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc.
     (4861); Sears Roebuck Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC
     (1870); Wally Labs LLC (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC
     (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc.
     (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of
     Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit
     Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company (Florida),
     L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising,
     Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears
     Buying Services, Inc. (6533); Kmart.com LLC (9022); Sears Brands Management Corporation (5365); and SRe
     Holding Corporation (4816). The location of the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman
     Estates, Illinois 60179.
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 Date of Retention:                          November 19, 2018 nunc pro tunc to October 15, 2018

 Period for Which Fees and                   October 15, 2018 through and including March 18,
 Expenses are Incurred:                      2019†

 Amount of Compensation Sought               $873,185.00
 as Actual, Reasonable and
 Necessary:

 Amount of Expense                           $ 12,832.82
 Reimbursement Sought as
 Actual, Reasonable, and
 Necessary:

 Total Fees and Expenses Due:                $886,017.82

 This is a                                        Monthly X Interim X Final Fee Application



                       Summary of Monthly Applications for Application Period

                                                                                      Expenses         Fee
      Date         Application      Requested      Fees Allowed      Requested
                                                                                      Allowed        Holdback
 Filed/ECF No.       Period        Fees (100%)        (80%)‡         Expenses
                                                                                      (100%)‡         (20%)
  1/16/2019       10/15/18 –
                                   $463,657.50      $370,926.00       $5,361.16       $5,361.16      $92,731.50
 ECF No. 1590     12/31/18
   4/8/2019       1/1/19-
                                   $409,527.50      $327,622.00       $7,471.66       $7,471.66      $81,905.50
 ECF No. 2592     3/18/19
             Totals:               $873,185.00      $698,548.00      $12,832.82      $12,832.82     $174,637.00




 †
   On March 18, 2019, the Court granted WLRK leave to withdraw as counsel to the Debtors pursuant to the Order
 Authorizing Wachtell, Lipton, Rosen & Katz to Withdraw as Special Counsel to the Debtors Pursuant to Local Rule
 2090-1 [ECF No. 2860].
 ‡
   With respect to ECF No. 2592, the objection deadline of April 23, 2019 has not yet occurred. Accordingly, the
 amounts set forth as allowed with respect to such filing are the amounts expected to be allowed in accordance with
 the Order Authorizing Procedures for Interim Compensation and Reimbursement of Expenses of Professionals [ECF
 No. 796].


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                                            Preliminary Statement

                  In accordance with the Order Authorizing Procedures for Interim Compensation

 and Reimbursement of Expenses of Professionals [ECF No. 796] (the “Interim Compensation

 Order”),§ Wachtell, Lipton, Rosen & Katz (“WLRK”) hereby submits this interim and final fee

 application (the “First Interim and Final Fee Application”), seeking compensation for services

 rendered and reimbursement of expenses incurred as section 327(e) counsel to the Debtors, for

 the period from October 15, 2018 through March 18, 2019 (the “First Interim and Final Fee

 Period”).** By this First Interim and Final Fee Application, WLRK seeks allowance of its fees in

 the amount of $886,017.82, which comprises (i) $873,185.00, which represents compensation

 sought for actual and necessary services rendered during the First Interim Fee Period and (ii)

 reimbursement of $12,832.82, which represents one hundred percent (100%) of actual and

 necessary expenses incurred in connection with such services. In support of its request, WLRK

 states as follows:

                                                   Background

                  1.       Beginning on October 15, 2018 (the “Commencement Date”) and

 continuing thereafter, each of the Debtors commenced with this Court a voluntary case under

 chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Debtors are

 authorized to continue to operate their business and manage their properties as debtors in

 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.                          No trustee or

 examiner has been appointed in these chapter 11 cases.


 §
   Capitalized terms used herein but not otherwise defined herein have the meanings ascribed to them in the Interim
 Compensation Order.
 **
    The Interim Compensation Order requires periodic submission of Interim Fee Applications. As described infra,
 on March 18, 2019, this Court granted WLRK leave to withdraw as counsel to the Debtors and required WLRK to
 file a final fee application within sixty days. In the interest of judicial economy, WLRK is submitting this
 Application as an Interim and Final Fee Application in order to cover the entirety of WLRK’s services on behalf of
 the Debtors through March 18, 2019.


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                2.      On October 29, 2018, the Debtors filed the Application of Debtors for

 Authority to Retain and Employ Wachtell, Lipton, Rosen & Katz as Special Counsel for the

 Debtors Nunc Pro Tunc to the Commencement Date [ECF No. 357], as supplemented by certain

 supplemental filings on November 8, 2018 [ECF No. 533] (the “Application”). As set forth in

 the Application and its accompanying declarations (the “Declarations”), WLRK had represented

 the Debtors prior to the filing of these cases with respect to various matters (the “Wachtell

 Matters”), including structuring asset sales and other disposition transactions, real estate matters,

 advising on various financing transactions, negotiating agreements with the Pension Benefit

 Guaranty Corporation, and advising on significant litigation matters, including the CCAA

 proceeding for Sears Canada Inc. The Debtors made the application to retain WLRK in order to

 take advantage of WLRK’s knowledge and expertise regarding those historical matters. The

 Debtors did not seek to employ WLRK as general or special bankruptcy counsel, or for WLRK

 to advise the Debtors or their estates with respect to their duties under the Bankruptcy Code.

                3.      On November 19, 2018, this Court granted the Application nunc pro tunc

 to the Commencement Date [ECF No. 813]. The Court’s retention order approved the terms of

 WLRK’s fee and expense structure set forth in the October Application, subject to the

 Bankruptcy Code, Bankruptcy Rules, Local Rules, Fee Guidelines, Interim Compensation Order,

 and other applicable orders of the Court. WLRK subsequently provided certain services to the

 Debtors.   These services related primarily to the disposition of the Debtors’ assets, case

 administration, claims administration and objections, corporate governance, employee benefits

 and pensions, and real estate.

                4.      On March 18, 2019, the Court granted WLRK leave to withdraw as

 counsel to the Debtors pursuant to the Order Authorizing Wachtell, Lipton, Rosen & Katz to




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 Withdraw as Special Counsel to the Debtors Pursuant to Local Rule 2090-1 [ECF No. 2860].

 The order provided for WLRK to submit interim fee applications for periods prior to the

 withdrawal date in accordance with the Interim Compensation Order, and a final fee application

 within sixty days of the entry of the order.

                                                Jurisdiction

                5.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

 §§ 157 and 1334, and the Amended Standing Order of Reference M-431, dated January 31, 2012

 (Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

 this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           Statutory Basis

                6.      Sections 330 and 331 of the Bankruptcy Code and Bankruptcy Rule 2016

 are the statutory predicates to the relief sought by this Application.

                                          Billing Practices

                7.      WLRK is seeking compensation for its services in accordance with its

 customary practices and the applicable provisions of the Bankruptcy Code, the Bankruptcy

 Rules, Local Rules, Interim Compensation Order, and Fee Guidelines. In those matters in which

 WLRK charges clients on an hourly basis, WLRK charges based on the actual hours expended to

 perform its services, at standard hourly rates established for each professional, which hourly

 rates are subject to annual adjustment.           In addition to the hourly billing rates of each

 professional, WLRK customarily charges its clients for all reimbursable expenses incurred,

 including photocopying charges, messengers, courier mail, overtime, overtime meals, late night

 transportation, travel, lodging, meal charges for business meetings, postage, printing, transcripts,

 filing fees, computer research, and similar items.




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                  8.      WLRK maintains contemporaneous records of the time expended and the

 out-of-pocket expenses incurred in support of its billings for services.

                  9.      By this First Interim and Final Fee Application, WLRK seeks the

 allowance of its compensation and expenses in full, and payment of $174,637.00, reflecting the

 amounts withheld (or, with respect to the application filed April 8, 2019 [ECF No. 2592],

 expected to be withheld) from its prior Monthly Fee Applications (i.e.,. 20% of the fees

 incurred).

                  10.     A copy of the itemized time and expense records corresponding to the

 above amounts were attached to the applications filed January 16, 2019 [ECF No. 1590] and

 April 8, 2019 [ECF No. 2592]. These records are summarized below.

                  11.     Pursuant to the Local Guidelines,†† WLRK has classified all services

 performed for which compensation is sought for the period into one of several major categories.

 WLRK attempted to place the services performed in the category that best relates to the service

 provided. Because certain services may relate to one or more categories, however, services

 pertaining to one category may in fact be included in another category. Attached as Exhibit C is

 a summary of the services rendered and compensation sought, by project category, for the First

 Interim and Final Fee Period. Each project category comprised the following matters:

 A.      Asset Disposition

                  12.     Time billed to this category relates to (1) the conduct of inventory

 liquidation sales at stores the company decided to close, together with various ancillary matters;

 (2) matters implicated by the Debtors’ sale process for substantially all of their assets; and (3)




 ††
   The Amended Guidelines for Fees and Disbursements for Professionals in Southern District of New York
 Bankruptcy Cases, dated January 29, 2013.


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 other potential dispositions of certain estate property, as to which WLRK had particular expertise

 and/or specialized knowledge.

               Fees: $564,170.00                                     Hours: 439.01

 B.     Business Operations

                13.     The de minimis time in this category relates to miscellaneous tasks

 occurring in the early portion of the case related to the continued operation of the Debtors’

 business.

                 Fees: $940.00                                         Hours: .90

 C.     Case Administration

                14.     Time billed to this category relates to administration of these cases not

 otherwise classified in another category. Because of its limited role as section 327(e) counsel,

 WLRK for the most part refrained from incurring time to generally follow the course of the

 proceedings. The time in this category relates to review of correspondence, pleadings, and other

 papers filed in the bankruptcy cases, and attendance at the first day hearings.

                Fees: $42,975.00                                      Hours: 34.50

 D.     Claims Administration and Objections

                15.     Time billed to this category relates to advice provided by WLRK in

 connection with certain potential claims as to which WLRK had particular expertise and

 specialized knowledge.     Such potential claims included claims arising out of the foreign

 bankruptcy proceeding of Sears Canada Inc., and claims asserted by the Pension Benefit

 Guaranty Corporation (“PBGC”) relating to the Debtors’ pension plans and certain associated

 agreements.

                Fees: $48,845.00                                      Hours: 37.30




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 E.     Corporate Governance

                16.    Time billed to this category relates to advice provided by WLRK in

 connection with corporate governance matters, as to which WLRK had particular expertise and

 specialized knowledge.

               Fees: $15,670.00                                     Hours: 10.60

 F.     Employee Benefits and Pensions

                17.    Time billed to this category relates to advice provided by WLRK related

 to the interpretation of certain agreements with the PBGC relating to the Debtors’ pension plans

 as to which WLRK had particular expertise and specialized knowledge.

               Fees: $23,822.50                                     Hours: 17.50

 G.     Real Estate

                18.    Time billed to this category relates to advice provided by WLRK in

 connection with certain real estate matters, including real estate matters related to a particular

 property as to which WLRK had particular expertise and specialized knowledge.

               Fees: $101,240.00                                    Hours: 81.00

 H.     Financing and Cash Collateral

                19.    Time billed to this category relates to advice provided by WLRK in

 connection with the DIP financing facility and related matters, as to which WLRK had particular

 expertise and specialized knowledge.

               Fees: $28,847.50                                     Hours: 27.90




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 I.     Employment and Fee Applications

                20.     Time billed to this category relates to the preparation of WLRK’s

 retention application, monthly fee statements, and motion for leave to withdraw as section 327(e)

 counsel to the Debtors.

                Fees: $46,675.00                                     Hours: 41.80

                                                ***

                21.     Exhibit B sets forth a timekeeper summary of WLRK’s professionals by

 individual, setting forth the (i) name, title, and department of each individual who provided

 services in connection with the Chapter 11 Cases during the First Interim and Final Fee Period,

 (ii) aggregate hours spent by each individual, (iii) hourly billing rate for each such individual at

 WLRK’s then current billing rates, (iv) amount of fees earned by each WLRK professional, and

 (v) the year of bar admission for each attorney. The blended hourly billing rate of WLRK

 attorneys during the First Interim and Final Fee Period is approximately $1,287.93. The blended

 hourly rate of paralegals during the First Interim and Final Fee Period is approximately $250.40.

                22.     Exhibit D sets forth a summary of the out-of-pocket expenses occurred by

 WLRK in connection with this representation, broken out by category.


                       The Requested Compensation Should Be Allowed

                23.     Section 331 of the Bankruptcy Code provides for interim compensation of

 professionals and incorporates the substantive standards of section 330 to govern the court’s

 award of such compensation. 11 U.S.C. § 331. Section 330 provides that a court may award a

 professional employed under section 327 of the Bankruptcy Code “reasonable compensation for

 actual, necessary services rendered [and] reimbursement for actual, necessary expenses.”




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 11 U.S.C. § 330(a)(1).      Section 330 also sets forth the criteria for the award of such

 compensation and reimbursement:

                In determining the amount of reasonable compensation to be
                awarded to a[] . . . professional person, the court shall consider the
                nature, the extent, and the value of such services, taking into
                account all relevant factors, including –

                (A)       the time spent on such services;

                (B)       the rates charged for such services;

                (C)       whether the services were necessary to the administration of, or beneficial
                          at the time at which the service was rendered toward the completion of, a
                          case under this title;

                (D)       whether the services were performed within a reasonable amount of time
                          commensurate with the complexity, importance, and nature of the
                          problem, issue, or task addressed;

                (E)       with respect to a professional person, whether the person is board certified
                          or otherwise has demonstrated skill and experience in the bankruptcy
                          field; and

                (F)       whether the compensation is reasonable based on the customary
                          compensation charged by comparably skilled practitioners in cases other
                          than cases under this title.

 Id. § 330(a)(3).

                24.       WLRK respectfully submits that the services which it performed were

 necessary for and beneficial to the Debtors and their estates. WLRK further submits that the

 compensation requested herein is reasonable in light of the nature, extent, and value of such

 services to the Debtors. WLRK conscientiously avoided incurring any time charges beyond its

 limited role as section 327(e) counsel related to matters as to which it had historical knowledge

 or specialized expertise. For these reasons, the amount of fees and expenses requested by

 WLRK are fair and reasonable given: (i) the complexity of these cases; (ii) the time expended;

 (iii) the nature and extent of the services rendered; (iv) the value of such services; and (v) the

 costs of comparable services other than in a case under the Bankruptcy Code, in accordance with


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 the factors enumerated in section 330 of the Bankruptcy Code. Accordingly, the approval of the

 compensation sought herein is warranted.

                                               Certification

                25.     A Certification of Amy R. Wolf is attached as Exhibit A and made part of

 this Application.

                                   Notice and Objection Procedures

                26.     Notice of this Application will be provided in accordance with the

 procedures set forth in the Amended Order Implementing Certain Notice and Case Management

 Procedures [ECF No. 405] (the “Amended Case Management Order”). WLRK respectfully

 submits that no further notice is required.

                27.     No previous request for the relief sought herein has been made by WLRK

 to this or any other Court.

                               [Remainder of Page Intentionally Left Blank]




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 Dated: April 12, 2019                 /s/ Amy R. Wolf
 New York, New York                    WACHTELL, LIPTON, ROSEN & KATZ
                                       51 West 52nd Street
                                       New York, New York 10019
                                       Telephone: (212) 403-1000
                                       Facsimile: (212) 403-2000
                                       Scott K. Charles
                                       Amy R. Wolf

                                       Former 327(e) Counsel for Debtors and Debtors in
                                       Possession




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                                    EXHIBIT A

                                    Certification
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 Scott K. Charles
 Amy R. Wolf

 Former 327(e) Counsel for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- x
 In re:                                                          :
                                                                 :      Chapter 11
 SEARS HOLDINGS CORPORATION, et al.:
                                                                 :      Case No. 18-23538 (RDD)
                                                                 :
                              ‡‡                                 :
                   Debtors.                                             (Jointly Administered)
 --------------------------------------------------------------- x

                 CERTIFICATION OF AMY R. WOLF IN SUPPORT OF
            WACHTELL, LIPTON, ROSEN & KATZ’S FIRST INTERIM AND FINAL
                  FEE APPLICATION FOR COMPENSATION EARNED
                 FROM OCTOBER 15, 2018 THROUGH MARCH 18, 2019



 ‡‡
              The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116);
      Kmart Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc.
      (6774); SHC Licensed Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC
      (0205); A&E Lawn & Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537);
      Innovel Solutions, Inc. (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022);
      Sears Development Co. (6028); Sears Holdings Management Corporation (2148); Sears Home & Business
      Franchises, Inc. (6742); Sears Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182);
      Sears Procurement Services, Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc.
      (4861); Sears Roebuck Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC
      (1870); Wally Labs LLC (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC
      (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc.
      (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of
      Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit
      Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company (Florida),
      L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising,
      Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears
      Buying Services, Inc. (6533); Kmart.com LLC (9022); Sears Brands Management Corporation (5365); and SRe
      Holding Corporation (4816). The location of the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman
      Estates, Illinois 60179.


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         I, Amy R. Wolf, under penalty of perjury, certify as follows:

                  1.       I am of counsel to the firm of Wachtell, Lipton, Rosen & Katz

 (“WLRK”), a law firm whose offices are located at 51 West 52nd Street, New York, NY 10019.

 Except as otherwise noted, I have personal knowledge of the matters set forth herein, and if

 called and sworn as a witness, I could and would testify competently thereto.

                  2.       This Certification is made in connection with Wachtell’s April 12, 2019

 application for interim and final compensation and reimbursement of expenses for the period

 commencing October 15, 2018 through and including March 18, 2019 (the “Application”).§§

                  3.       Pursuant to section B(1) of the Local Guidelines, I certify that:

                                a. I have read the Application;

                                b. To the best of my knowledge, information, and belief formed after
                                   reasonable inquiry, the fees and disbursements sought fall within
                                   the Local Guidelines;

                                c. The fees and disbursements sought are billed at rates in accordance
                                   with those customarily charged by clients of WLRK being billed
                                   on an hourly basis and generally accepted by WLRK’s clients; and

                                d. In providing a reimbursable service, WLRK does not make a profit
                                   on that service, whether the service is performed by WLRK in-
                                   house or through a third party.

                  4.       Pursuant to section B(2) of the Local Guidelines, and as required by the

 Interim Compensation Order, I certify that WLRK has complied with provisions requiring it to

 provide the Notice Parties (as defined by the Interim Compensation Order) with a statement of

 WLRK’s fees and disbursements accrued during the previous month, in addition to publicly

 filing such statements as required by the Interim Compensation Order.



 §§
   Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
 in the Application.


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                5.       Pursuant to section B(3) of the Local Guidelines, I certify that the Notice

 Parties will be served with a copy of this Application, as will all parties required to receive notice

 under the Amended Case Management Order.

                In accordance with the UST Guidelines, WLRK responds to the questions

 identified therein as follows:

        Question 1: Did WLRK agree to any variations from, or alternatives to, WLRK’s
        standard or customary billing rates, fees or terms for services pertaining to this
        engagement that were provided during the Compensation Period? If so, please
        explain.

        Answer: No. For clients of WLRK that are billed on an hourly basis, no
        variations from, or alternatives to, the standard or customary billing rates, fees, or
        terms were made.

        Question 2: Are the fees sought in the Application higher by 10% or more as
        compared to the fees budgeted for the Compensation Period? If so, did WLRK
        discuss the reasons for the variation with the client?

        Answer: No.

        Question 3: Have any of the professionals included in the Application varied
        their hourly rate based on geographic location of the bankruptcy case?

        Answer: No.

        Question 4: Does the Application include time or fees related to reviewing or
        revising time records or preparing, reviewing or revising invoices? If so, please
        quantify by hours and fees.

        Answer: No.

        Question 5: Does the Application include time or fees for reviewing time records
        to redact any privileged or other confidential information? If so, please quantify
        hours and fees.

        Answer: No.

        Question 6: Does the Application include any rate increases since WLRK’s
        retention in this case? If so, did the client review and approve those rate increases
        in advance? Did the client agree when retaining the law firm to accept all future
        rate increases?



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        Answer: Yes. The Debtors were advised that WLRK adjusts its billing rates
        annually.

                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct to the best of my information, knowledge, and belief.



 Executed this 12th day of April, 2019




                                                       _________________________________
                                                       Amy R. Wolf
                                                       Of Counsel
                                                       Wachtell, Lipton, Rosen & Katz




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                                                   EXHIBIT B

             TIMEKEEPER SUMMARY OF WLRK FOR SERVICES RENDERED
                DURING THE FIRST INTERIM AND FINAL FEE PERIOD
                                                           YEAR                          TOTAL
                                                         ADMITTED           HOURLY       HOURS          TOTAL
  NAME OF PROFESSIONAL:             DEPARTMENT***             †††
                                                                            RATE‡‡‡      BILLED      COMPENSATION
 Neff, Daniel A. (Partner)               CORP                1978           $ 1,400.00      0.60    $           840.00
 Charles, Scott K. (Partner)             REFI                1985           $ 1,500.00    396.60    $       573,780.00
 Silk, David M. (Partner)                CORP                1989           $ 1,500.00      5.50    $         8,250.00
 Panovka, Robin (Partner)               RE M&A               1993           $ 1,500.00     16.00    $        22,900.00
 Rowe, Paul K. (Of Counsel)               LIT                1980           $ 1,400.00      1.00    $         1,400.00
 Wolf, Amy R. (Of Counsel)               REFI                1980           $ 1,400.00     27.40    $        37,440.00
 Chen, Dianna (Counsel)                 RE M&A               2000           $ 975.00       10.25    $         9,993.75
 Koenig, Mark A. (Counsel)              RE M&A               2001           $ 975.00        1.00    $           975.00
 Adlerstein, David M. (Counsel)          CORP                2003           $ 1,000.00      1.70    $         1,700.00
 Snyder, Neil M. (Counsel)               REFI                2012           $ 1,100.00    203.90    $       202,030.00
 Ross, Richard M. (Associate)           RE M&A               1970           $ 850.00        2.60    $         2,210.00
 Chatani, Neil K. (Associate)            REFI                2012           $ 925.00        8.40    $         7,770.00
 Roccisano, Suzanne (Paralegal)         RE M&A               N/A            $ 275.00        0.25    $            68.75
 Gabriele, Hillary R. (Paralegal)         LIT                N/A            $ 250.00        9.11    $         2,277.50
 Zylich, Aimee K. (Paralegal)             LIT                N/A            $ 250.00        6.20    $         1,550.00
 Total Professionals:                                                                     690.51    $       873,185.00


       PROFESSIONALS
                                                                                                  TOTAL
 TOTALS:                            BLENDED RATE             TOTAL HOURS BILLED                COMPENSATION
 Attorneys (Partners,
                               $      1,287.93                 674.95                      $       869,288.75
 Counsel, and Associates)
 Paraprofessionals and
                               $        250.40                      15.56                  $         3,896.25
 other non-legal staff
 Total Fees Incurred                                           690.51                      $       873,185.00




 ***
     REFI – Restructuring & Finance ; CORP – Corporate; RE M&A – Real Estate M&A; LIT – Litigation
 †††
     To the bar of the State of New York unless otherwise noted.
 ‡‡‡
     The hourly billing rates of Scott Charles, Robin Panovka, and Amy Wolf, increased by $100.00 on January 1,
 2019. Neil Snyder’s hourly billing rate increased by $175.00 on January 1, 2019. Only their final hourly billing
 rates are listed here.
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                                              EXHIBIT C

                        SUMMARY BY PROJECT CATEGORY FOR THE
                          FIRST INTERIM AND FINAL FEE PERIOD


                                                          TOTAL HOURS           TOTAL
                         Project Category                   BILLED           COMPENSATION
 Asset Disposition (002)                                    439.01      $     564,170.00
 Business Operations (006)                                    0.90      $         940.00
 Case Administration (007)                                   34.50      $      42,975.00
 Claims Administration and Objections (008)                  37.30      $      48,845.00
 Corporate Governance (009)                                  10.60      $      15,670.00
 Employee Benefits and Pensions (010)                        17.50      $      23,822.50
 Employment and Fee Applications (011)                       41.80      $      46,675.00
 Financing and Cash Collateral (013)                         27.90      $      28,847.50
 Real Estate (018)                                           81.00      $     101,240.00
 Total Fees Incurred                                        690.51      $     873,185.00
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                                           EXHIBIT D

      EXPENSE SUMMARY FOR THE FIRST INTERIM AND FINAL FEE PERIOD



 EXPENSES                                                                        AMOUNTS
 Duplicating                                                                $         285.00
 Duplicating – Color                                                        $        1,491.00
 Duplicating/Velobinding/Tab                                                $          82.00
 Library – Westlaw Recovery                                                 $         338.78
 Travel – Local Attorneys                                                   $        3,456.81
 Travel – Package Delivery                                                  $         114.63
 Travel – Local Staff                                                       $         685.81
 Proofreading                                                               $          33.75
 Word Processing                                                            $         315.00
 Meals – Attorneys                                                          $        4,512.85
 Meals – Paralegals                                                         $          93.95
 Meals – Support Staff                                                      $          18.15
 O/S Filing & Witness Fees                                                  $          70.00
 O/S Proofreading                                                           $          40.32
 O/S Other Service Co. Fees                                                 $        1,192.40
 O/S Obtain Court Documents                                                 $            5.55
 O/S Telephone                                                              $          21.79
 Messengers Overtime                                                        $          75.00
 Total Expenses Requested:                                                  $       12,832.82
